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               EXHIBIT 1
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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     April 23, 2021

BY ELECTRONIC MAIL

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           Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Counsel:

        Pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure, the Government
hereby provides notice that it may call as an expert witness at trial Dr. Lisa Rocchio, a clinical
instructor of psychiatry and human behavior at the Alpert Medical School of Brown University.
The Government reserves the right to call additional expert witnesses and will promptly provide
notice if the Government elects to do so.

   I.      Disclosure by the Government

        Dr. Lisa Rocchio is the President-Elect of the Division of Trauma Psychology of the
American Psychological Association (“APA”). Dr. Rocchio has practiced psychology since
earning her Ph.D. in 1995, and she is currently a clinical instructor at the Alpert Medical School
of Brown University, where she trains psychiatric residents in treating trauma survivors. Since
she entered private practice in 1998, Dr. Rocchio has specialized in treating patients with trauma,
including sexual trauma in childhood and adolescence. In the last twenty-three years, Dr. Rocchio
has treated hundreds of victims of trauma, many of whom were minor victims of sexual abuse.
Dr. Rocchio has also received specialized training in traumatic stress, sexual abuse, and clinical
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and forensic psychology. She has written, presented, and taught about the assessment and
treatment of trauma, among other topics. Since 2014, Dr. Rocchio has been on the editorial review
board of the APA journal Trauma Psychology: Theory, Research, Practice and Policy, and she is
a member of the APA Ethics Committee. A copy of Dr. Rocchio’s curriculum vitae is being
produced to you today bearing Bates number 3502-006.1

        Dr. Rocchio is expected to testify, based on her relevant education, training, experience,
and research to the following: Individuals with particular vulnerabilities are often targeted by
perpetrators of sexual abuse. Sexual abuse of minors frequently occurs through the use of
manipulation or coercion in the context of an established relationship that is developed over time,
rather than through the use of forcible rape. Minor victims are often subject to a strategic pattern
of behaviors, often called grooming, that can take a variety of forms and function to render the
victims vulnerable to abuse, to obscure the nature of the abuse, and to build trust and attachment
with their abuser. The relationship of trust and attachment can prevent victims from being aware
that what they are experiencing is abuse and can prevent disclosure. Minor victims therefore may
not identify themselves as victims of abuse while it is ongoing, and may not recognize the
consequences of that abuse until adulthood. Repeated exploitation and abuse can increase the
likelihood of victimization later in life and can result in long-term traumatic and psychological
consequences, especially when it occurs in the context of complex trauma. The presence of other
individuals can facilitate the sexual abuse of minors. Dr. Rocchio is also expected to testify that
nondisclosure, incremental disclosure, and secrecy are common among victims of sexual abuse for
a variety of reasons, and that memory and disclosure of traumatic or abusive events is impacted
by a number of factors, including the circumstances surrounding the trauma. Dr. Rocchio has not
evaluated any specific victim in this case, and the Government does not presently intend to offer
Dr. Rocchio’s testimony regarding any specific victim.

       Dr. Rocchio’s expected testimony relies on her education and training on psychological
trauma, traumatic stress, interpersonal violence, and sexual abuse. It also relies on Dr. Rocchio’s
extensive clinical experience treating individuals who suffered sexual abuse and trauma in
childhood and adolescence, as well as Dr. Rocchio’s experience conducting forensic psychological
evaluations of people who have experienced sexual abuse and trauma. The Government is
producing notes from the Government’s interviews with Dr. Rocchio today as well.

    II.     Request for Reciprocal Discovery and Expert Notice

        In light of your request for the foregoing notice, the Government hereby requests reciprocal
notice under Rule 16(b)(1)(C) of the Federal Rules of Criminal Procedure regarding any expert
witness that the defendant intends to rely upon, including a written summary of any testimony that
the defendant intends to use under Rules 702, 703, or 705 of the Federal Rules of Evidence, as
well as the witness’s qualifications.



1
 Dr. Rocchio has previously testified in state court and has been deposed in the course of federal
and state litigation. As a courtesy, a list of that testimony is also being produced to you today
bearing Bates number 3502-002.
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        Additionally, the Government reiterates its August 5, 2020 request for reciprocal discovery
under Fed. R. Crim. P. 16(b). Specifically, we request that you allow inspection and copying of:
(1) any books, papers, documents, data, photographs, tangible objects, buildings or places, or
copies or portions thereof, which are in the defendant’s possession, custody or control, and which
the defendant intends to introduce as evidence or otherwise rely on at trial; and (2) any results or
reports of physical or mental examinations and of scientific tests or experiments made in
connection with this case, or copies thereof, which are in the defendant’s possession or control,
and which the defendant intends to introduce as evidence or otherwise rely on at trial or which
were prepared by a witness whom the defendant intends to call at trial.

       The Government also reiterates its August 5, 2020 request that the defendant disclose prior
statements of witnesses she will call to testify, including expert witnesses. See Fed. R. Crim. P.
26.2; United States v. Nobles, 422 U.S. 225 (1975). The Government requests that such material
be provided on the same basis upon which the Government agrees to supply the defendant with
3500 material relating to Government witnesses.


                                              Very truly yours,

                                              AUDREY STRAUSS
                                              United States Attorney



                                          by: _/s/____________________________
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